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3.~ 'a. Pdrlj/ served.' AVENI‘IS INC
b. Person served: IBNN}FZER SMTI'I-I1 AUTHORIZED AGENT FOR SER.VICE
4. Addre.rs where the parg) was ssrved: 2704 COMMERCE DRIVE

HARRISBURG, PA 17110
5. I served the pan;v: .
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